Case 2:05-cr-00126-WFN   ECF No. 978   filed 07/21/06   PageID.5445 Page 1 of 6
Case 2:05-cr-00126-WFN   ECF No. 978   filed 07/21/06   PageID.5446 Page 2 of 6
Case 2:05-cr-00126-WFN   ECF No. 978   filed 07/21/06   PageID.5447 Page 3 of 6
Case 2:05-cr-00126-WFN   ECF No. 978   filed 07/21/06   PageID.5448 Page 4 of 6
Case 2:05-cr-00126-WFN   ECF No. 978   filed 07/21/06   PageID.5449 Page 5 of 6
Case 2:05-cr-00126-WFN   ECF No. 978   filed 07/21/06   PageID.5450 Page 6 of 6
